              19-13103-cgm             Doc 21   Filed 03/16/20 Entered 03/16/20 16:41:48              Main Document
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                                                     Ortiz & Ortiz, L.L.P.
                                                           Attorneys at Law
                                                    32-72 Steinway Street, Suite 402
                                                       Astoria, New York 11103
Frank A. Ortiz (1931-2016)                                                                                  Tel. (718) 522-1117
Norma E. Ortizw                                                                                             Fax (718) 596-1302
  *******                                                                                               email@ortizandortiz.com
Maria Perez, Of Counsel
w
    (Admitted in New York and New Jersey)




                                                                                  March 16, 2020



                Chief Judge Cecilia G. Morris
                U.S. Bankruptcy Court
                One Bowling Green
                New York, New York 10004

                                                                 Re:      Maritza Acosta Rosario, Chapter 13
                                                                          Case No. 19-13103-CGM

                Dear Judge Morris:

                       Please accept this letter as a status report and a response to the motion filed by the Court
                to dismiss the Debtor’s case because our failure to submit an order for loss mitigation.

                        I apologize to the Court for not following the correct procedure: my oversight was
                inadvertent. Soon after we filed the case and sought loss mitigation, the Debtor received a trial
                loan modification before we began the process or submitted an application to the loan servicer.
                The Debtor made her third trial payment in February. I have emailed counsel to the servicer to
                ascertain when we might expect a permanent offer.

                        I request that the Court withdraw its motion to dismiss. I intend to file an amended plan
                that incorporates the loan modification, once we receive the permanent offer, and that will
                withdraw the request for loss mitigation.

                          Thank you for your time and consideration.
                                                                                  Very truly yours,

                                                                                  Norma E. Ortiz

                                                                                  Norma E. Ortiz
